Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 1 of 18




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                        CASE NO 08-22033-CIV-ALTONAGA/BROWN



   ELLEN GREENFIELD,

          Plaintiff,

   v.

   KENT SECURITY SERVICES, INC.

        Defendant .
   ___________________________________/

                          DEFENDANT’S MOTION TO STRIKE
                  INADMISSIBLE EVIDENCE IN PLAINTIFF’S SUPPORTING
                      DECLARATIONS, and references to them in her
                       RESPONSE AND SUPPORTING MATERIALS

          Defendant, KENT SECURITY SERVICES, INC., through undersigned counsel,

   pursuant to Rules 12(f) and 56(e) and Local Rule 7.1(A), moves the Court to strike the

   entire declaration of Jill Shavelson and portions of the Declarations of Ellen Greenfield ,

   Todd Schwartz and Patrick Hurley and all references to these matters in Plaintiff’s Plaintiff’s

   Response to Defendant’s Motion for Summary Judgment and in her Statement of Opposing

   Facts and as grounds for the relief sought states:




                                      Background to Motion


                                           Page 1 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 2 of 18




          As background for this motion and to understand the arguments made in it, it is

   important to understand the roles held by the declarants with Defendant. Leyda Tollentino

   worked for KSS as a paralegal and reported to Orly Alexander. Her primary responsibility

   was to coordinate KSS’s legal matters, including its litigation. [G. Neuman Depo, p. 100-

   101]. Plaintiff did not consider Ms. Tollentino to be a member of management. [See E.

   Greenfield Declaration ¶ 14]. Ms. Tollentino was not trained by Defendant to handle

   internal complaints of discrimination. [See Exhibit A, H. Hartley Depo, p 54: 15-16 ] and had

   no qualifications to do so. [Id., p. 81: 17-22].    Ms. Tollentino resigned from KSS in or

   around October, 2007.      Ms. Tollentino’s connection to this case is that she participated

   in an interview of Plaintiff with Compliance Officer Henry Hartley regarding her internal

   complaint of pregnancy discrimination.       Ms. Tollentino prepared a report outlining

   Plaintiff’s allegations for Ms. Alexander. Ms. Tollentino’s deposition has not been taken

   nor did she provide Plaintiff with an affidavit or declaration to oppose summary judgment.



          Henry Hartley was Defendant’s Compliance Officer and was responsible for

   investigating discrimination complaints. [G. Neuman Depo, p. 298: 23-25; 229: 24-25].

   Mary Blanco was Defendant’s Human Resource Coordinator [Id., p. 299: 4-13] and Rose

   Cucurillo was Defendant’s office payroll manager. [R. Cucurillo Depo, p. 12:8].           Jill

   Shavelson was hired by Plaintiff as a salesperson in or around September 19, 2006. Ms.

   Shavelson worked as a salesperson until 2/13/07 when she resigned. [See Tab 5,

   Appendix to Motion for Summary Judgment].          Todd Schwartz was the President of KSS




                                          Page 2 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 3 of 18




   [G. Neuman Depo, p 166: 19-20 ] and separated from its employment in 2006. [Declaration

   of Todd Schwartz].

          At the time of the events at issue in this case Patrick Hurley was President of Kent

   Security of Naples, Inc. (“KSN”). He was responsible for operating KSN and oversaw its

   Operations and Sales functions. Mr. Hurley was terminated by Gil Neuman in or around

   June, 2008. Mr. Hurley claims that he also is a victim of gender discrimination. [See

   EEOC charge included at Exhibit 1 in Appendix to Reply].

                                     Rule 56(e)’s Standard

          An affidavit which fails to meet the standards of Rule 56(e) is subject to a motion to

   strike. Gore v. GTE South, 917 F. Supp. 1564, 1571 (M.D. Ala. 1996), citing Southern

   Concrete Co. v. United States Steel Corp., 394 F. Supp. 362, 380 (N.D. Ga. 1975), aff’d.,

   535 F. 2d 313 (5th Cir. 1976). See also Ellison v. Logan, 2009 U.S. Dist. LEXIS 40667

   (M.D. Fla. 2009). Federal Rule of Civil Procedure 56(e) requires affidavits in opposition to

   summary judgment to “set forth such facts as would be admissible in evidence, and ...

   show affirmatively that the affiant is competent to testify to the matters stated therein.”

   This standard allows “otherwise admissible evidence to be submitted in inadmissible form

   at the summary judgment stage, though at trial it must be submitted in admissible form."

   Macuba v. Deboer, 193 F.3d 1316 (11th Cir.1999). Affidavits which contain conjecture or

   speculation, hearsay “evidence”, or statements made without adequate foundation are

   subject to being stricken under Rule 56(e). . Hill v. Oil Dri Corp., 198 Fed. Appx. 852, 855

   (11th Cir. 2006); Evers v. General Motors Corp., 770 F. 2d 984, 986 (11th Cir. 1985).




                                          Page 3 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 4 of 18




                                     Plaintiff’s Declaration

         Plaintiff submitted a 46 paragraph declaration in support of her Response to

   Defendant’s Motion for Summary Judgment which is referred to repeatedly in her

   Statement of Opposing Facts and in her response. Her is rife with inadmissible hearsay,

   opinions and conclusions and allegations that lack an appropriate foundation. Defendant

   has collected the portions of Plaintiff’s declaration into categories and then follows with

   legal argument as to why the portions must be stricken.

                            Inadmissible Opinions And Conclusions

          ¶4. “Prior to working for Defendant, I had extensive sales experience....” “This
   is because in the sales industry, you can have good months and bad months and it
   is incredibly difficult to forecast or predict whether a month will be good or bad.
   This determination is essentially made by clients and their needs for a particular
   month.”

         ¶10. ....”But, in response, he was always evasive...”

         ¶11.    “Ultimately we arrived at the following commissions plan: “

          ¶12. “The only sales goal that Mr. Neuman and I ever agreed upon....”
   “However, when he emails me a finalized job offer, he made reference to “previously
   determined goals” which to my understanding, was a reference to the $5,000,000 annual
   goal referenced above–the only goal upon which he and I agreed.”

          ¶13. .... “It was only after I began experiencing discrimination in November,
   2006...”

           ¶14. “As to Ms. Reale, I believed that while she had good people skills and
   evidenced the ability to generate business, her weakness, as Mr.Neuman noted was
   her inability to close sales.” ... “While I believed that Mr. Cardiff was not a “keeper” at
   that time, ...” “ Mr. Cardiff later turned out to be a competent salesperson...”

         ¶15. ..... “Based on this agreement with Mr. Neuman....”

          ¶17. .... “ I discussed each of these decisions with Mr. Neuman and he was in
   agreement and supportive of same.” “At no time did Mr. Neuman ever criticize, object
   to or disagree with any of my proposals, goals, or assessments.”

                                         Page 4 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 5 of 18




         ¶19. .... “prior to this retreat Mr. Neuman and I had been working very closely, he
   was responsive to my work related inquiries and emails and very complimentary of my
   performance and team building to date...

            ¶20. ...”While Mr. Neuman had been incredibly jovial and communicative with
   me prior to announcing my pregnancy, his demeanor towards me immediately changed.
   ......” Mr. Neuman became pale and slinked down in his chair...” “ ... appeared to be
   disinterested during my presentation”..... “Mr. Neuman avoided me, would not speak to
   me.....” “I didn’t realize that this was the beginning of the end of my employment for
   Defendant.”

          ¶21. “When I returned to work following the weekend retreat and up until the time
   I was demoted, everything regarding my employment changed.” .....”Mr. Neuman
   started making nasty comments....”

         ¶22. “All these comments were hurtful...” “ Mr. Neuman stopped speaking with
   me in the office, stopped responding to my work related emails and stop [sic]
   including me in management meetings/decisions to which I should have been
   included.”   “... this refusal to speak with me after announcing my pregnancy
   delayed....”

          ¶23. “ Notwithstanding Mr. Neuman’s comments and behavior toward me, my
   sales team continued to flourish ...” “This amount was more than fifty (50) percent of
   my promised annual goal...” “ actual revenue realized from these contract sales
   during this six (6) month period was ....... still more than half of my agreed upon goal
   of $5,000,000 per year.

         ¶24. “Notwithstanding my efforts and the success of my team, Mr. Neuman
   continued to ignore me save to make nasty comments.....” “ delaying my payments
   and objecting to them...” “ Because the only thing that had changed during my
   employment was the fact that I had announced my pregnancy....” The first complaint
   took place in early 2007, well prior to my demotion.” “ the ongoing comments and
   poor treatment by Mr. Neuman...” “Notwithstanding Mr. Hartley’s inappropriate
   response...”

         ¶25.   .....”abruptly terminated the meeting.”

         ¶28.   “Ms. Tollentino let me know that I was being set up to fail....”

          ¶29.. “By mid March, 2007, Mr. Neuman had all but stopped speaking to me or
   responding to work related inquiries whatsoever.” “ Because I was on trend to hit my
   goal for the year....”



                                        Page 5 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 6 of 18




          ¶30    ....”Mr. Neuman, as was “par for the course” never responded to this
   email.”

         ¶31. “As a result of all the .... discrimination I was experiencing culminating
   in what was now an unwarranted demotion..” “Dr Center began working with me on
   how to best emotionally and physically handle the inexplicable conduct I was
   experiencing in the workplace.”

          ¶32. ....”Mr. Neuman continued to ignore my work related emails and inquiries.”
   “... When he refused to respond..... he made himself unavailable.” ...”I felt like I was
   being forced out or being set up to fail...”

         ¶35. “ Because Mr. Hartley had ignored my requests....”      “ started keeping
   contemporaneous notes/records of the improper actions or events” “ nothing was done
   to remedy the improper activity at issue.”

         ¶37. ...” now required to police me...” “ Prior to my demotion, Ms. Cucurillo was
   below me in Defendant’s chain of command/company hierarchy.”

         ¶38.   ...” Mrs. Alexander approached me and very curtly....”

        ¶39. ...”my working conditions continued to deteriorate.....” “Because Mr.
   Neuman would not respond, let alone approve....”

            ¶41.          “ ... not the $75,000 salary upon which Mr. Neuman and I agreed...”
   “I felt this action was retaliatory and unwarranted.”

         ¶43.        ‘’ ... I was forced to take a public bus home...” “ By taking my car
   away, Mr. Neuman prevented me from performing this function of the job.”

         ¶46. “ Up until now, while my work condition was deplorable....” “Working for
   Defendant had become torture.” “I felt all of this had occurred as a result of
   announcing my pregnancy and then complaining about discrimination.”

           ¶48. “As a result of the trauma, humiliation and physical and mental distress that
   I suffered while working for Defendant, I delivered my daughter six weeks early and my
   child suffered from gastrointestinal problems as a result.”

         ¶49(b). “For Mr. Blackwell to suggest that this issue was the responsibility of
   my sales team is preposterous.”

        ¶49(c) ....“For Mr. Blackwell to suggest that Defendant lost these accounts
   based on something I said or did is disingenuous and untrue.”


                                         Page 6 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 7 of 18




          ¶49(f) ...” I also generated $585,239.04" in revenue

                                           Argument

               Self serving and unsupported opinions are invasive of a court’s consideration.

   Gamble v. Aramark Uniform Services, Inc., 132 Fed. Appx. 263 (11th Cir. 2005). Opinions

   contained in affidavits or declarations are subject to being stricken. The same holds true

   for affidavits which contain statements of “ultimate facts” or conclusions. Here the above

   cited provisions of Plaintiff’s Declaration are opinions and conclusions of her own

   qualifications, worth and progress [i.e. “extensive experience in sales” in ¶4; “my sales

   team continued to flourish” in ¶23; “on trend to hit my goal for the year” in ¶ 29,

   “notwithstanding my efforts and the efforts of my team “in ¶ 24, “ what was now an

   unwarranted demotion” in ¶ 31; and “I also generated $585,239.04" in revenue” in ¶ 49(f)];

   that she was discriminated and retaliated against based on her pregnancy, see ¶¶ 13, 22,

   24, 31, 35, 41 and 46; see King v. ADT Security Services, Inc. 2007 U.S. Dist. LEXIS

   68628 (S.D. Ala. 2007) and ultimate conclusions of fact and law [¶¶ 11, 12, 13, 15, 17, 22,

   23, 24, 31, 35, 37 and 41] such as that her demotion was “inexplicable” see, ¶ 31; that

   certain actions were “improper” ¶ 35 or “inappropriate” ¶ 24; and that Mr. Neuman “agreed”

   that her sales quota was to be $5 million in sales annually and to her decisions ¶ 17 and

   that her work conditions were “deplorable” and like “torture” to justify her why she resigned.

   See, ¶ 46.

          Plaintiff’s opinions also include such vague 1, descriptive and dramatic statements

   of opinion such as:


          1
               To be considered on summary judgment, Rule 56(e) requires statements to be
   specific.      See other arguments re vagueness, infra.

                                          Page 7 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 8 of 18




          •       Mr. Neuman “appeared disinterested during my presentation” ¶ 20;

          •       “I didn’t realize that this was the beginning of the end of my employment for
                  Defendant.” see ¶20;

          •        “....everything regarding my work changed” ¶21;

          •       Her prior employer had been “incredibly accommodating” ¶ 22;

          •       She had a “clear entitlement” to payments ¶ 24 2

          •       Comments were “ongoing” ¶ 24;

          •       She was subject to “poor treatment” ¶ 24;

          •       Individuals were “evasive” ¶ 19; “complimentary” ¶ 19; “communicative” ¶ 20;
                  “jovial” ¶10; reacted “abruptly”¶ 25; “nasty” ¶¶ 21 and 24; spoke to her
                  “curtly” ¶¶ 20 and 38;

          •       “... the “continued” treatment to which I was being subjected. ¶ 28.

          •       Incidents were “par for the course” ¶ 30;

          •       Her working conditions were “deplorable” ¶ and her employment had become
                  “torture” ¶ 46;

          •       employees were “below” her ¶ 37

          •       Individuals”avoided” her ¶ 20; “refused” to make themselves available, ¶ 32
                  or were “unavailable”, ¶ 39; “ignored” her, ¶¶ 32 and 35; did not “respond”
                  ¶¶ 29. 30, 39; “stopped speaking to her” ¶¶ 22 and 29;

          •       She was “prevented” from performing her job ¶ 43.

   Amazingly, Plaintiff even renders a medical opinion that she gave birth prematurely and

   her newborn suffered gastrointestinal problems as a direct result of the stress she suffered

   working for Defendant. ¶48. Even treating physicians may not opine about the causation




          2
              This also constitutes a legal conclusion.

                                           Page 8 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 9 of 18




   of a condition, Principi v. Survivair, Inc. 231 F.R.D. 685 (M.D. Fla. 2005), much less an

   individual whose avowed expertise is “sales.” 3

          Plaintiff makes the following statement of common knowledge in ¶4: “This is

   because in the sales industry, you can have good months and bad months and it is

   incredibly difficult to forecast or predict whether a month will be good or bad.       This

   determination is essentially made by clients and their needs for a particular month.”4 Such

   statements are considered opinion evidence and subject to being stricken. King v. ADT

   Services, Inc. 2007 U.S. Dist. LEXIS 68628 (S.D. Ala 2007). Finally, Plaintiff offers her

   opinion as to the credibility of another witness. See ¶¶ 49(b) and 49(c) which is the most

   clear example of improper opinion.

          Not only does Plaintiff offer her own opinions on ultimate facts and conclusions of

   law, she also deigns to offer the hearsay opinions of others. In ¶ 25, Plaintiff includes

   the following hearsay statements of opinion by paralegal Leyda Tollentino that “she too

   observed that I was being treated differently.” and in ¶ 28 that Plaintiff “was being set up

   to fail” and “they are up to something.” 5 See also ¶ 36, “Ms. Tollentino told me that she


          3
           Plaintiff clearly lacks competency to know whether her child’s medical condition
   was the result of stress, or other factors and for this reason it is also inadmissible.
          4
           This same statement in contained in the Declaration of Todd Schwartz. See ¶
   3. This provision also must be stricken from Mr. Schwartz’ declarationas it is
   inadmissible.
          5
               These are not admissions of a party-opponent under Rule 801(d)(2) because
   Plaintiff has not shown that Ms. Tollentino was authorized to make such statements
   about the subject matter, or that it was within the course and scope of her employment
   to investigate discrimination claims. In fact, Ms. Tollentino did not handle internal
   discrimination complaints and was not trained to do so. [See excerpts from H. Hartley
   Depo]. Rule 801(d)(2) states that the mere making of the statement is insufficient to
   establish the declarant’s authority. See further argument, infra.

                                         Page 9 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 10 of 18




   learned during her meetings that “they” (meaning Mr. Neuman and Mrs. Alexander” are

   “trying to get rid of you.”   These statements not only rank hearsay 6, Arendale v. City of

   Memphis, 519 f. 3d 587 (6th Cir. 2008) but inadmissible opinion as well. Moreover, Plaintiff

   has not established a foundation for their admission. Creal v. Springhill Ford, 2007 U.S.

   Dist. LEXIS 77827 (N.D Ill. 2007). 7

          Likewise, ¶ 24 includes statements purportedly made by Henry Hartley, Defendant’s

   compliance officer.     The alleged statements by Mr. Hartley that this is “Gil’s way” and

   “sometimes he says things he shouldn’t say “ and that Plaintiff was “overly emotional

   because [she] was pregnant” 8 would be merely expressions of personal opinion and do not

   constitute admissions of a party-opponent pursuant to Rule 801(d)(2). Rowell v. Bellsouth

   Corp., 433 F.3d 794 (11th Cir. 2005). The same applies to her attribution to Ms. Cucurillo

   in ¶ 42 of the response “you know.” See also argument infra re: Rule 801(d)(2).

                                 Interpretation of a Foreign Language

          ¶ 38 contains Plaintiff’s interpretation of a statement made in Hebrew.         Plaintiff

   admits that all she knows in Hebrew are few “words, phrases and expressions.”              She

   admitted in her deposition that the only language she is fluent in is Spanish. Plaintiff’s base


          6
              Plaintiff is offering the statements for the truth of the matter asserted
   therein.See Macuba, supra, at p. 1325 (“the statements Leonard claims were made to
   him were being offered for their truth: that DeBoer and Youseff had a "hit list" of people
   in the land use departments, including Macuba, they wanted fired”)[E.S.].
          7
           Even according to Plaintiff’s own recitation of Ms. Tollentino’s purported
   statements, Ms. Tollentino’s basis for making the statement is that “she has seen type
   of behavior before in other work environments. “ Plaintiff has not established the factual
   basis Ms. Tollentino’s opinion or her expertise in workplace dynamics .
          8
            Mr. Hartley denied making any of these statements at his deposition. [H.
   Hartley Depo, pp. 122-123].

                                           Page 10 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 11 of 18




   for the interpretation is a “cross-language dictionary on-line” (which is itself hearsay).

   Plaintiff is not competent to translate from Hebrew to English and has not produced

   evidence that her translation is accurate.    For this reason ¶38 must be stricken. See

   United States v. Llinas, 603 F. 3d 506 (5th Cir. 1979); Eli Lilly & Co. v. Air Express Int’l

   USA, Inc., 602 F. Supp. 2.d 1260 (S.D. Fla. 2009).

                                 Lack of Personal Knowledge

          While Plaintiff makes her declaration upon “direct and personal” knowledge, it is

   clear she has no personal knowledge of the actions or inactions of others. In ¶26, Plaintiff

   alleges “....Mr. Hartley never investigated my statements and when Mr. Neuman would

   make an additional comment or not respond to my work related inquiries, I complained to

   Mr. Hartley again, all without any response or action from Mr. Hartley.” 9 Assuming

   Plaintiff asked Mr. Hartley to investigate, she has not provided facts to establish a

   foundation for knowledge that Mr. Hartley “never investigated” nor responded or acted to

   her request.

          The same principle applies to Plaintiff’s statements relating to Mr. Neuman’s actions

   and inactions:

          ¶20 (“Mr. Neuman “avoided” me)

          ¶ 22 (“Mr. Neuman’s refusal”)

          ¶ 24 (“Mr. Neuman continued to ignore me” and “began delaying my payments”)

          ¶ 29 (“Mr. Neuman .... stopped responding”



          9
            See similar statements in ¶ 27, “ Mr. Hartley..... never did so”, in ¶ 33 (“for
   which nothing was done”) and in ¶ 35 (“Because Mr. Hartley had ignored...”), ¶ (“Mr.
   Hartley was not investigating”)

                                          Page 11 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 12 of 18




          ¶ 32 (“Mr. Neuman continued to ignore my work” and “ he refused to respond”)

          ¶39 (“Mr. Neuman would not respond”)

          ¶20 (“ Mr. Neuman .... .slinked down in his chair”) 10

   Plaintiff has not established how she knows that Mr. Neuman’s actions were intentional and

   directly related to her claims of discrimination or retaliation as opposed to exigencies of Mr.

   Neuman’s own business needs and activities or those of his personal life. For these

   reasons, these provisions must be stricken.

                                             Hearsay

          Rule 801(d)(2) allows an out of court statement made by a party or its agent to be

   admitted into evidence provided a foundation is established.          The party offering the

   statement must affirmatively show the declarant to whom the statement is attributed was

   authorized to make the statement concerning the subject matter, or that the statement is

   within the scope of the declarant’s agency or relationship during the existence of the

   relationship.   The statement alone will not be considered to establish authorization or

   scope of agency or relationship.

          Plaintiff’s declaration contains hearsay statements made by Mr. Neuman, Ms.

   Tollentino, Mr. Hartley, Office Manager Rose Cucurillo and Human Resources Coordinator

   Mary Blanco. The statements attributed to Mr. Hartley in ¶ 24 do not fall within the ambit



          10
             Plaintiff’s attempts to use this alleged “non-verbal conduct” as an admission
   against a party-opponent. She does not state how she knows that Mr. Neuman’s
   purported change in seating position is directly related to her announcement. To the
   extent that Plaintiff alleges she was never “reprimanded, disciplined or counseled” these
   non-acts do not constitute admissions because she has not laid a proper foundation for
   their admissibility. Ms. Cucurillo testified that Defendant is “lax” in the area of
   documentation. [R. Cucurillo Depo, p. 33:18].

                                          Page 12 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 13 of 18




   of Rule 801(d)(2) because Plaintiff is offering them to show that she suffered a hostile work

   environment based on her pregnancy. They cannot be for the truth of the matter asserted

   because Plaintiff has not established that Mr. Hartley participated in the challenged

   decision-making, see, e.g. Zaben v. Air Products & Chemicals, 129 F.3d 1453 (11th Cir.

   1997) or that the alleged statements are within the scope of Mr. Hartley’s agency.       It is

   clear that statements such as these would be outside the course and scope of a

   compliance officer’s responsibilities. See, e.g. Lloyd v. Tassell, 2009 U.S. App. LEXIS

   1531 (11th Cir. 2009).

          The same flaws are evident as to the statements attributed to Ms. Tollentino in ¶¶

   25 and 28 and to Mary Blanco in ¶ 44 (“Ms. Blanco told me that Mr. Neuman had refused

   to sign the complaining employee’ s paycheck because “he did not need a troublemaker

   working for the company”.). In neither instance has Plaintiff shown that it was in the scope

   of declarant’s responsibilities or authority to make such statements.11

          Finally, much of Plaintiff’s declaration contains hearsay and “double hearsay.” For

   example, in ¶ 32 Plaintiff states, “ And, when I asked my co-workers to assist on their

   projects, they told me that I was not allowed to help.” This is classic hearsay that does

   not fall within any exception. The statements attributed to Mary Blanco in ¶¶39 and 4412,

   to Mr. Hartley in ¶ 24 and to Rose Cucurillo in ¶ 37 (“she was now required to police me per


          11
             Plaintiff admits that Mr. Hartley was the compliance officer. Ms. Blanco had
   no functions relating to complaints of discrimination and denied that this incident
   occurred.
          12
             This statement contains triple hearsay because it contains statements
   allegedly made to Ms. Blanco by an unnamed employee “who had complained of
   harassment” and Ms. Blanco’s alleged reiteration of Mr. Neuman’s comment made to
   Ms. Blanco which is double hearsay.

                                         Page 13 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 14 of 18




   Mr. Neuman”) and ¶ 42 (“you know”) suffer from the same evidentiary deficiency. 13

   Statements attributable to “property managers” in ¶49(c) also are hearsay.

                                   Jill Shavelson’s Declaration

          There is no statement in Ms. Shavelson’s declaration that it is made on personal

   knowledge. The declaration, therefore, does not satisfy Rule 56(e). Even assuming it

   were made upon personal knowledge, it contains inadmissible personal opinion, see, ¶ 3

   “I have extensive sales experience”), (¶4 “In my opinion, Mrs. Greenfield was incredibly

   competent, organized, dedicated, successful and well liked...”) and ¶ 5, “.... Mrs. Greenfield

   spend [sic] significant time training and meeting with her sales staff to better their

   performance ....”).

          Her declaration–especially since it is not made on personal knowledge–also lacks

   a factual foundation for many allegations, i.e. (¶ 5 “.... Mrs. Greenfield continued to

   generate substantial sales and revenue for Defendant...”), (¶6 “At no time ... did I ever

   perceive or observe that Mrs. Greenfield was not diligently and/or successfully performing

   her duties”) and (¶7 “I observed..... Mrs. Greenfield was successfully building a sales

   team for Defendant and generating revenues.... which, based upon my

   understanding, was more substantial than at any time prior to her employment.” 14

          Given these deficiences, Ms. Shavelson’s declaration should be fully stricken.

                                   Patrick Hurley’s Declaration

          13
            Ms. Blanco’s deposition was taken on June 9 and she denied making any of
   the statements which Plaintiff has attributed to her.
          14
            Ms. Shavelson’s declaration does not state how she came by this knowledge
   which precedes her period of employment. Therefore, at most this is a statement of
   opinion.

                                          Page 14 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 15 of 18




         The following portions of Mr. Hurley’s declaration must be stricken because they

   constitute inadmissible expressions of opinion and legal conclusions:

         •      ¶ 5. ..... “During many of these conversations, it became clear to me that Gil
                Neuman discriminated against women and more importantly, pregnant
                women.”

         •      ¶ 5(a) ..... “ I voiced my objection to Gil Neuman that he was discriminating
                against Ms. Callahan and that his conduct was grossly improper.”

         •      ¶ 5(b)....”Despite previously being pleasant and jovial during the meeting, Gil
                Neuman’s face immediately changed and he became pale and visibly
                upset.      I specifically recall that for the remainder of the evening his
                behavior was different and he avoided interaction with Ms. Greenfield
                directly. “

         •      ¶5(c) ...”When I advised him that he could not treat an employee who
                complained about discrimination this way.....”

         •      ¶ 5(d).... “I..... again explained that he cannot treat men and women
                differently...”

         •      ¶6.    “During my employment, I had the opportunity to observe Mrs.
                Greenfield’s work.    I found her competent and respected by both
                management and the sales team....” ... Other than during our initial work
                related disagreements within weeks of her commencing employment, I found
                her to be competent and respected by both management and the sales
                team.... “

         •      ¶8.    “.... I was dismayed by this demotion .....” “ When I learned that Mrs.
                Greenfield had been demoted to what essentially resulted to a menial
                position ,..... I felt embarrassed for her.” “Plaintiff was now put in a
                demeaning role of working beneath employees of Defendant, such as Rose
                Cucurillo, that previously were below her in the chain of command for
                Defendant.”

         •      ¶10. ....”I repeatedly complained to Gil Neuman about discriminatory and
                inappropriate business practices....” “Notwithstanding these complaints,
                he did as he wished and the result was that I personally observed him
                engaged in discriminatory practices.”

         •      ¶ 11 ...”terminated from my position by Gil Neuman for what he falsely
                claimed....”

                                        Page 15 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 16 of 18




   Rather than repeat the same arguments previously made, Defendant simply directs the

   Court’s attention to the cases cited above which hold that conclusory statements and

   statement of personal opinion are to be disregarded and stricken under Rule 56(e).

          Many other statements in Mr. Hurley’s declaration lack a factual foundation. In ¶ 5,

   Mr. Hurley’s opinion apparently is based on two purported conversations.15           For Mr.

   Hurley’s statements in ¶ 5(b) to be admissible, there would need to be a foundation laid

   that he was in a physical position to see Mr. Neuman during dinner and that he was in Mr.

   Neuman’s presence the entire evening, i.e., next to or directly in front of Mr. Neuman 16

   And, while Mr. Hurley states in ¶ 6 that he worked with Plaintiff on a “daily” basis and had

   the opportunity to observe Plaintiff, this directly contradicts Plaintiff’s testimony that she

   had little contact with Mr. Hurley.    [E. Greenfield Depo, p. 120: 16].        Mr. Hurley’s

   declaration in ¶ 6 that Plaintiff was “respected by both management and the sales team”

   also lacks the specificity of fact to form a foundation for the statement. There also is no

   factual foundation in the declaration to establish that Mr. Neuman would have discussed

   Plaintiff’s sales goals or performance deficiencies with Mr. Hurley. See, ¶¶ 6 and 8. In




          15
             Presumably Plaintiff offers Mr. Hurley’s declaration to show Defendant’s
   general animus towards women. However, courts have rejected such evidence.
   See White v. Columbus Metro Housing Auth, 429 F. 3d 232 (6th Cir.2005) and Becker
   v. ARCO Chem Co., 207 F. 3d 176 ( 3rd Cir. 2000)[ evidence of prior treatment of others
   is inadmissible character evidence under Rule 404]. Because these purported
   statements do not relate to Plaintiff nor does she affirm that she was aware of them, the
   statements are inadmissible
          16
            Mr. Hurley refers to “dinner” and then later in the same paragraph refers to
   “meeting.” It is not clear whether his statement relates to one or two different events.

                                          Page 16 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 17 of 18




   fact, the converse is undisputed: Mr. Hurley complained about Plaintiff’s performance with

   Mr. Neuman vociferously. [E. Greenfield Depo, pp. 77-80].

                                            Conclusion

          Because of the standards mandated by Rule 56(e), the entirety of Ms. Shavelson’s

   declaration and the cited portions of Plaintiff’s declaration and Mr. Schwartz and Hurley’s

   declarations cannot be considered by the Court in her response in opposition to entry of

   summary judgment.        To the extent that Plaintiff relies on her own declaration and

   inadmissible statements of others in her response, in her Statement of Opposing Facts and

   in other supporting materials, those references must be disregarded and the arguments

   based on them must be deemed to fail.

          WHEREFORE,        Defendant respectfully requests that the Court to grant the relief

   sought in this motion.

                                      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was filed electronically on June 12,
   2009 through EM/ECF and that a copy of the foregoing will be served via notification
   through EM/ECF on all counsel or parties of record on the attached service list:


                                      By:
                                             Leslie W. Langbein, Esq.
                                             Fla. Bar No. 305391

                                        Page 17 of 18
Case 1:08-cv-22033-CMA Document 143 Entered on FLSD Docket 06/12/2009 Page 18 of 18




                                   SERVICE LIST
                      CASE NO 08-22033-CIV-ALTONAGA/BROWN


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                                    Page 18 of 18
